
Healthway Medical Care, P.C., as Assignee of Sherod, Hill, Appellant, 
againstNew York Central Mutual Fire Insurance Company, Respondent.




The Rybak Firm, PLLC (Damin J. Toell, Esq.), for appellant.
Gullo &amp; Associates, LLP (Cristina Carollo, Esq.), for respondent.

Appeal from an order of the Civil Court of the City of New York, Kings County (Carolyn E. Wade, J.), entered April 1, 2014. The order granted defendant's motion for summary judgment dismissing the complaint.




ORDERED that the order is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff appeals from an order of the Civil Court which granted defendant's motion for summary judgment dismissing the complaint on the ground that plaintiff's assignor had failed to appear for duly scheduled independent medical examinations.
For the reasons stated in Sama Physical Therapy, P.C., as Assignee of Sherod, Hill v New York Cent. Mut. Fire Ins. Co. (___ Misc 3d ___, 2017 NY Slip Op _____ [appeal No. 2014-1102 K C], decided herewith), the order is affirmed.
PESCE, P.J., ALIOTTA and SOLOMON, JJ., concur.
ENTER:
Paul Kenny
Chief Clerk
Decision Date: September 15, 2017










